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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CABLE NEWS NETWORK, INC. and ABILIO
 JAMES ACOSTA,


                Plaintiffs,

      v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States; JOHN F. KELLY, in
 his official capacity as Chief of Staff to the President
 of the United States; WILLIAM SHINE, in his
 official capacity as Deputy Chief of Staff to the             Case No.
 President of the United States; SARAH HUCKABEE
 SANDERS, in her official capacity as Press Secretary
 to the President of the United States; the UNITED
 STATES SECRET SERVICE; RANDOLPH ALLES,
 in his official capacity as Director of the United
 States Secret Service; and JOHN DOE, Secret
 Service Agent, in his official capacity,

                Defendants.


               CERTIFICATE OF NOTICE PURSUANT TO LOCAL RULE 65.1(a)

       I, Theodore J. Boutrous, Jr., counsel for Plaintiffs Cable News Network, Inc. and Abilio

James Acosta, hereby certify that counsel for the Plaintiffs made the following efforts to give

notice of the time of making the application for a temporary restraining order, and copies of all

pleadings and papers filed in this action:


       (a) emailed Daniel Van Horn, Chief of the Civil Division of the U.S. Attorney’s Office

for the District of Columbia, at the email address Daniel.vanhorn@usdog.gov, and provided the

pleadings and papers filed in the action to date or to be presented to the Court at the hearing;
         Case 1:18-cv-02610-TJK Document 2-2 Filed 11/13/18 Page 2 of 2




       (b) emailed Emmet Flood, White House Counsel, at etf3sc@who.eop.gov and provided

the pleadings and papers filed in the action to date or to be presented to the Court at the hearing;

and

       (c) emailed Donna Cahill, Chief Counsel for the United States Secret Service, at

ogc@hq.dhs.gov and provided the pleadings and papers filed in this action to date or to be

presented to the Court at the hearing.

Dated: November 13, 2018                              Respectfully submitted,


                                                      ________________________________
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